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                                Exhibit A
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                                                            U.S. Department of Justice

                                                            Environment and Natural Resources Division

   90-11-3-07683/1
   Environmental Enforcement Section                                           Telephone: (202) 616-8763
   P.O. Box 7611
   Washington, DC 20044                                                           laura.rowley@usdoj.gov




                                                            January 13, 2022

   Via Email

   Jeffrey D. Talbert
   Preti Flaherty Beliveau & Pachios L L P
   One City Center
   Portland, ME 04101

           Re: Diamond Alkali Superfund Site

   Dear Jeff:

           As requested, this will provide a status report on the settlement discussions between and
   among the U.S. Department of Justice (DOJ), the U.S. Environmental Protection Agency (EPA),
   and most of the parties that participated in the EPA-sponsored allocation for the lower 8.3 miles
   of the Lower Passaic River, which is Operable Unit 2 (OU2) of the Diamond Alkali Superfund
   Site (the Site). Nearly all of the allocation parties are also defendants in Occidental Chemical
   Corporation v. 21 st Century Fox America, Inc, et al., Civ. No. 2:18-CV-11273 (D.N.J.).

           By way of background, on March 3, 2016, EPA issued a Record of Decision (ROD) for
   OU2, selecting a remedy to address human health and environmental risks posed by
   contaminated sediments found in the lower 8.3 miles of the L ower Passaic River, an area from
   the river's confluence with Newark Bay to River Mile 8.3. In March 2016, EPA notified over
   100 parties that they were potentially responsible parties (PRPs) under Section 107(a) of the
   Comprehensive Environmental Response, Compensation, and Liability Act of 1980, as amended
   (CERCLA), 42 U.S.C. § 9607(a), with respect to OU2 of the Site.

           On September 28, 2021, EPA issued a ROD selecting an interim remedy for OU4, which
   is the 17-mile L ower Passaic River, including OU2 and the upper 9 miles of the Lower Passaic
   River from River Mile 8.3 to the Dundee Dam. The OU4 interim remedy addresses
   contaminated sediments in the upper 9 miles. Issuance of the OU4 interim ROD caused the
   United States to expand its enforcement and settlement efforts to encompass OU4 as well as
   OU2.

          In accordance with the strong policy preference for settlements with responsible parties
   under CERCLA to avoid spending resources on litigation rather than on cleanup,1 EPA

   1
     See H.R. Rep. No. 99-253, pt. 1, at 80 (1985), reprinted in 1986 U.S.C.C.A.N. 2835. As the court noted
   in United States v. Charter Intl Oil Co., 83 F.3d 510, 520 (1st Cir. 1996), “[p]erhaps mindful of the huge
   resources going into the transaction costs of CERCLA litigation, rather than to remediating the sites,
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   developed and pursued a settlement framework designed to identify parties to implement and/or
   fund the selected remedy and parties that can appropriately be cashed out. To that end, EPA,
   through its prime contractor CSRA (later, Eastern Research Group), retained AlterEcho as a
   third-party neutral to perform an allocation that would assign non-binding shares of
   responsibility to the private parties identified by EPA as OU2 PRPs. EPA also asked AlterEcho
   to determine relative groupings, or tiers, of responsibility (logical groupings of parties with
   similar responsibility and shares). EPA invited the private PRPs it had noticed to participate in
   the allocation. For clarity, these are denominated as “allocation parties.” The vast majority of the
   invited PRPs agreed to participate in the allocation, denominated as “participating allocation
   parties” (i.e., a subset of the group of allocation parties), but Occidental Chemical Corporation
   and nine other allocation parties declined the invitation.

            AlterEcho began work in the fall of 2017 and issued a Final Allocation Recommendation
   Report (Report) at the end of December 2020. The Report recommends relative shares of
   responsibility for each participating allocation party’s facility or facilities that was/were
   evaluated in the allocation. The Report also recommends relative shares for facilities of those
   allocation parties that declined to participate in the allocation.

          EPA and DOJ reviewed the Report and identified parties that were eligible for a cashout
   settlement (the “eligible parties”). The United States and the eligible parties have participated in
   settlement negotiations for several months and we are hopeful that a cashout settlement with
   these parties is possible.

            As noted, most of the eligible parties are also defendants in Occidental Chemical
   Corporation v. 21 st Century Fox America, Inc, et al., Civ. No. 2:18-CV-11273 (D.N.J.). Besides
   the eligible parties, that litigation includes a number of defendants that did not receive EPA
   notices of potential liability under CERCLA and were not evaluated in the allocation. EPA and
   DOJ understand that a number of those defendants, while not participants in the cashout
   negotiations described above, may be interested in engaging in discussions with the United
   States concerning an additional, separate settlement, potentially utilizing the methodology that
   underlies the AlterEcho allocation and the proposed cashout settlement. While EPA and DOJ
   cannot yet commit to engage in that process, you may inform those non-participants that the
   United States is willing to consider such a proposal after a potential cashout settlement with the
   eligible parties has been finalized and judicially-entered.

                                                    Sincerely,

                                                    /s/ Laura J. Rowley

                                                    Laura J. Rowley
                                                    Senior Trial Attorney


   cc:     Brian Donohue, DOJ (via email)
           Andrew Keir, DOJ (via email)
           Sarah Flanagan, EPA Region 2 (via email)


   Congress sought to encourage earlier resolutions by agreement.” These settlements serve to “reduce
   excessive litigation expenses and transaction costs, thereby preserving scarce resources for CERCLA's
   real goal: the expeditious cleanup of hazardous waste sites.” United States v. DiBiase, 45 F.3d 541, 546
   (1st Cir. 1995).
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         Juan Fajardo, EPA Region 2 (via email)
         Kate DeLuca, EPA Region 2 (via email)
         Frances Zizila, EPA Region 2 (via email)




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